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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW and
      2. KIMBERLEY ANN TEW,
         a/ka Kimberley Vertanen,

        Defendants.


                      GOVERNMENT'S MOTION TO DISCLOSE
                     GRAND JURY MATERIAL TO DEFENDANTS


        The United States of America, by and through Cole Finegan, United States

 Attorney for the District of Colorado, and Bryan David Fields, Assistant United

 States Attorney, respectfully moves the Court, pursuant to Fed. R. Crim. P.

 6(e)(3)(E)(I), for an order authorizing the Government to disclose Grand Jury

 testimony and exhibits to the Defendants and their attorneys, on the terms and

 conditions outlined below.

        As grounds for this motion, the Government states as follows:

        1.     Fed. R. Crim. P. 6(e), with various exceptions, prohibits the disclosure

 of "a matter occurring before the grand jury."




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       2.     The Government wishes to provide to the defendants a transcript of

 testimony before the grand jury, which constitutes Jencks material for a witnesses

 likely to appear at trial in this matter. See 18 U.S.C. § 3500.

       3.     Fed. R. Crim. P. 6(e)(3)(E)(I) allows for Court-authorized disclosure of

 Aa Grand Jury matter,@ when such disclosure is "preliminarily to or in connection

 with a judicial proceeding."

       4.     The pending case against the Defendant is a "judicial proceeding" and

 the requested disclosure is "in connection with" such proceeding. The Government

 wishes to provide this discovery, but can only do so with the Court's approval.

       5.     Because these proceedings (and the related Grand Jury material)

 remain secret, see Fed. R. Crim. P. 6(e), the Government moves that disclosure only

 be allowed for purposes of defending this case; that such disclosure only be made to

 the Defendants and the Defendants’ attorney; that such Grand Jury material be

 maintained in the defense counsel’s custody; that such materials shall not be

 reproduced or disseminated; and that such materials be returned to the United

 States at the end of this case.




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       WHEREFORE, the Government respectfully requests that the Court

 authorize the disclosure of Grand Jury material to the Defendants and their

 attorneys on the terms and conditions outlined above.

       Respectfully submitted this 25th day of May, 2022.


                                               COLE FINEGAN
                                               United States Attorney
                                               District of Colorado


                                         By:   s/ Bryan David Fields
                                               BRYAN DAVID FIELDS
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 Certification of Type-Volume Limitation

        I hereby certify that the foregoing pleading complies with the type-volume
 limitation set forth in Judge Domenico’s Practice Standard III(A)(1).

                                                      /s Bryan David Fields
                                                      Bryan David Fields


 Statement of Speedy Trial Impact

        Pursuant to Judge Domenico’s Practice Standard III(C), the government
 states that this motion will have no affect on the speedy trial clock unless the Court
 orders a hearing on the matter to take place after the already-existing ends-of-
 justice continuance expires.




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                            CERTIFICATE OF SERVICE

               I certify that on this 12th day of June, 2017, I electronically filed the
   foregoing with the Clerk of the Court using the CM/ECF system which will send
   notification of such filing to all counsel of record in this case


                                                 s/ Bryan David Fields
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